




NO. 07-03-0539-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 27, 2004

______________________________





MATTHEW THOMIS ANDRAE, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE



_________________________________



FROM THE COUNTY COURT OF HALE COUNTY;



NO. 2003C-1027; HONORABLE BILL HOLLARS, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

On May 17, 2004, the parties filed an Agreement to Remand with this Court, indicating that this case should be remanded to the trial court for further proceedings. &nbsp;

It is therefore ordered, that the judgment of the trial court be reversed and the cause remanded to the trial court for further proceedings. &nbsp;

Phil Johnson

Chief Justice





Do not publish.


